Case 2:95-cr-20153-.]DB Document 100 Filed 07/22/05 Page 1 of 2 Page|D 28

Prob 35
(3/93)

Report and Order Terminating Probation/
Supervised Release

Prior to Original Expiration Date

 

 

 

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Unlted States Dlstrlct Court <¢;‘-.. m
FOR THE m -<

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wEsTERN DISTRICT OF TENNESSEE

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UNITED sTATES OF AMERICA 33 '§>

V.
Dem etrious Peoples

Crim. No. 2:95CR20153-Ol

On March 5, 1999, the above named was placed on Supervised Release for a period of five (5) years. He

has complied with the rules and regulations of Supervised Reiease and is no longer in need of Supervision. It is
accordingly recommended that he be discharged from Supervised Re|ease.

Respectfully submitted,

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U.S. Probat\l'ogpfiicer‘j

ORDER OF THE COURT

ed.

§§ I.% f
Dated this ll day of , .

Pursuant to the above report, it is ordered that the defendant be discharged from Supervised Release and
that the proceedings in the case be terminat

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Notice of Distribution

This notice confirms a copy of the document docketed as number 100 in
case 2:95-CR-20153 Was distributed by faX, mail, or direct printing on
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Paul M. O'Brien

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Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

